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EXHIBIT A

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SUMM()NS

IN THE SUPERIOR/STATE COURT OF COBB COUNTY
STATE OF GEORGIA

clvlL AchoN
NUMBER 9351,"(.0
§ § A`

NELLIE SMITH, individually and as the Temporarv

and Anticipated Administrator of the Estate of
$195 COST PAlQ,

ANNICE BRANNON, deceased ,
4 ~ 4 -~ ~ ~ $5.00 RuSH FEE PD

PLAINTIFF .._ .. ... . .
VS.

GGNSC ROME, LLC d/b/a GOLDEN LIVINGCENTER-ROME, GGNSC HOLDINGS. LLC.
GOLDEN GATE NATIONAL SENIOR CARE, LL'C. GGNSC ADMINISTRATIVE SERVICES. LLC.
GOLDEN GATE ANCILLARY. LLC, GGNSC CLINICAL SERVICES, LLC and JOHN/JANE DOES I and ll

DEF ENDANT
SUMMONS

TO THE ABOVE NAMED DEFENDANT:

You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff`s attomey,

whose name and address is:
William F. Holbert
SPMH Law, LLC
Two Ravinia Drive, Suite 1330
Atlanta, GA 30346

an answer to the complaint which is herewith served you, within 30 days after service of this summons upon you,
exclusive of the day of service. lf you fail to do so, judgment by default will be taken against you for the relief demanded

in the complaint

This l</day of SCO'§-_ , 20 15
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Clerk QF`S§§§ €é¥e/“Court
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IN THE STATE COURT OF COBB COUNTY
STATE OF GEORGIA

NELLIE SMITH, lndividual}y and as the
Temporary and Anticipated Administrator
of the Estate of ANNICE BRANNON,
Deceased,

CIVIL ACTION FILE NO.:

Piaintiff,

 

V.

GGNSC ROME, LLC d/b/a GOLDEN
LIVINGCENTER-ROME; GGNSC
HOLDINGS, LLC; GOLDEN GATE
NATIONAL SENIOR CARE, LLC; GGNSC
ADMINISTRATIVE SERVICES, LLC;
GOLDEN GATE ANCILLARY, LLC; GGNSC
CLINICAL SERVICES, LLC; and
JOHN/JANE DOES I and II,

 

VVVVVVWVVVVVVWVVVVV

Defendants.l

 

COMPLAINT FOR DAMAGES

 

Now comes, NELLIE SMITH (“Plaintifi”), individually and as the Temporary and
Anticipatcd Administrator of the Estate of ANNICE BRANNON, (“Ms. Brannon”) deceased,
and presents her complaint for damages against Defendants GGNSC ROME, LLC d/b/a
GOLDEN LWINGCENTER-ROME, GGNSC HOLDINGS, LLC, GOLDEN GATE
NATIONAL SENIOR CARE, LLC, GGNSC ADMINISTRATIVE SERVICES, LLC, GOLDEN
GATE ANCILLARY, LLC, GGNSC CLlNlCAL SERVICES, LLC and JOHN/JANE DOES I
and lI, as follows:

l. ln this action, Plaintiff Nellie Smith shows that the Defendants’ violations of
federal and state law and regulations in the operation of a long-term care facility, negligence per

se, professional negligence, simple negligence and breach of contract in the provision of nursing

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horne care, treatment and services led directly and proximately to severe and life threatening
injuries, illness, pain, suffering and the death of Nellie Smith. At all times material to this
lawsuit, Ms. Sinith received care, treatment and supervision while residing at GGNSC ROME,
LLC d/b/a GOLDEN LIVINGCENTER-ROME, (“GOLDEN LlVINGCENTER-ROME”)'which
is located in Floyd County, Georgia. The Plaintii°f, individually and in her capacity as the
Temporary and Anticipated Administrator of the Estate of Annice Brannon, therefore seeks
damages to recover upon claims arising under tort and contract
JURISDICTION AND VENUE

2. Plaintiff, Nellie Smith, is an individual over the age of nineteen (19) years and
brings this lawsuit individually and in her capacity as the Temporary and Anticipated
Administrator of the .Estate of Annice Brannon. Plaintiff hereby subjects herself to the
jurisdiction of this Court.

3. Defendant, GGNSC ROME, LLC d/b/a GOLDEN LINVINGCENTER-ROME, is
a For-Profit Foreign Limited Liability Cornpany formed under the laws of the State of Delaware
with its principle place of business in Rome, GA. This Defendant owns and operates a skilled
nursing facility called Golden LivingCenter~Rome in Rome, Floyd County, Georgia. This
Defendant can be served with process by service upon its registered agent for service of process
. _in this State: CSC of Cobb County, Inc., 192 Anderson Street SE, Suite 125, Marietta, GA
30060.

4. Det`endant, GGNSC HOLDINGS, LLC is a Foreign Limited Liability Company
` formed under the laws of the State of Delaware with its principle place of business in Plano, TX.
This Defendant owns and operates a skilled nursing facility called Golden LivingCenter-Rome in

Rome, Floyd County, Georgia. This Defendant can be served with process by service upon its

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registered agent for service of process in this State: CSC of Cobb County, Inc., 192 Anderson
Street SE, Suite 125, Marietta, GA 30060.

5. Defendant, GOLDEN GATE NATIONAL SENIOR CARE, LLC is a Foreign
Limited Liability Cornpany formed under the laws of the State of Delaware with its principle
place of business in Plano, TX. This Defendant owns and operates a skilled nursing facility
called Golden LivingCenter-Rome in Rome, Floyd County, Georgia. This Defendant can be
served with process by service upon its registered agent for service of process in this State: CSC
of Cobb County, lnc., 192 Anderson Street SE, Suite 125, Marietta, GA 30060.

6. Defendant, GGNSC ADMINISTRATIVE SERVICES, LLC is a Foreign Limited
Liability Company formed under the laws of the State of Delaware with its principle place of
business in Plano, TX. This Defendant owns and operates a skilled nursing facility called
Golden LivingCenter»Rome in Rome, Floyd County, Georgia. This Defendant can be served with
process by service upon its registered agent for service of process in this State: CSC of Cobb
County, Inc., 192 Anderson Street SE, Suite 125, Marietta, GA 30060.

'7. Defendant, GOLDEN GATE ANCILLARY, LLC is a Foreign Limited Liability
Company formed under the laws of the State of Delaware with its principle place of business in
Plano, TX. This Defendant owns and operates a skilled nursing facility called Golden
LivingCenter;Rome in Roine, F loyd County, Georgia. This Defendant can be served with process
by'service upon its registered agent for service of process in this State: CSC of Cobb County,
Inc., 192 Anderson Street SE, Suite 125, Marietta, GA 30060.

8. Defendant, GGNSC CLINICAL SERVICE85 LLC is a Foreign Liinited Liability
Company formed under the laws of the State of Delaware with its principle place of business in

Plano, TX. This Defendant owns and operates a skilled nursing facility called Golden

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LivingCenter-Rome in Rome, Floyd County, Georgia. This Defendant can be served with process
by service upon_its registered agent for service of process in this State: CSC of Cobb County,
Inc., 192 Anderson Street SE, Suite 125, Marietta, GA 30060.

9. Upon proper service of process, and based on the foregoing, jurisdiction is proper in
this Court. Venue is proper in this Court under OCGA § 9-10-31. l

PARTIES

10, Plaintiff Nellie Smith is the sister of Annice Brannon. Plaintiff brings this suit
individually and in her capacity as the Temporary and Anticipated A_dministrator of the Estate of
Annice Brannon. Ms. Annice Brannon is survived by no spouse, children or parents ~ Plaintiff
seeks to recover upon Ms. Brannon’s individual claims against Defendants arising in tort and
contract in her individual capacity and in her capacity as the Temporary and Anticipated
Administrator of Annice Brannon’s Estate.

11. The Defendant entities known as GGNSC ROME, LLC. d/b/a GOLDEN
LIVINGCENTER~ROME, GGNSC HOLDINGS, LLC., GOLDEN GATE NATIONAL
SENIOR CARE, LLC, GGNSC ADMINISTRATIVE SERVICES, LLC, GOLDEN GATE
ANCILLARY, LLC, and GGNSC CLINICAL SERVICES, LLC, (Collectively “Defendants”)
own and operate a long-term skilled nursing care facility called Golden LivingCenter-Rome
located at 1345 Redmond Road, Roxne, GA 30165. The Defendant entities were contractually
charged with responsibility for the provision of residence, care, treatment and
convalescent/rehabilitation services to Ms. Annice Brannon. The Defendants negligently failed
at their responsibilities as described below.

12. Defendant John/Jane Doe l at all relevant times was the Administrator at Golden

LivingCenter-Rorne during Ms. Brannon’s residency Defendant John/Jane Doe II at all relevant

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times was the Director of Nursing.Services at Golden LivingCenter-Rome during Mso Brannon’s
residency In these capacities, each of these Defendants Were responsible for ensuring that Ms.
Brannon received the medical and nursing care, treatment and services necessary to address her
medical and nursing needs and her needs with respect to her activities of daily living. These
Defendants were also responsible for discovering, investigating, preventing and correcting all
instances of resident abuse, mistreatment and neglect They were responsible for proper and
timely communication of Ms. Brannon’s medical condition and needs to her doctor and family

when necessary, and providing prompt medical care when it was necessary
FACTS

13. Ms. Annice Brannon was eighty (80) years-old when she was admitted to Golden
LivingCenter-Rome on Septernber 9, 2013. At the time of admission, Ms. Brannon had a history
of stroke, hypertension, atrial iibrillation, and congestive heart failure. Ms. Brannon remained a
resident at Golden LivingCenter- Rome until September 16, 2013, when she was transferred a
local hospital and passed away the same day.

l 14. On September 9, 2013, Ms. Brannon was admitted to Golden Living Center for
rehabilitation services following discharge from an acute hospital with a diagnosis of an
intracranial hemorrhage and malignant hypertension On admission, she was assessed and noted
to require extensive assistance with all ADLs.

15. The Admission Assessment of September 9, 2013 indicated normal vital signs
Ms. Brannon was alert with short term memory problems and she needed assistance with
decision making Lung sounds were clear and mucous membranes were moist. She had poor
skin integrity with a red area to the right heel and a 9.5 x 5 x O, purple/red colored area with

areas of open skin to her buttocks. She was incontinent of bowel and bladder. She had persistent

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left-sided weakness The assessment indicated she was at nutritional risk due to poor appetite
and swallowing problems An immediate Care Plan for nutrition and dehydration was initiated,
but had limited interventions

16. The Nurse’s Notes of September 9, 2013 indicate Ms. Brannon was on a pureed
diet with honey thick liquids. She required assistance with feeding She was alert and able to
make herself understood

17. On September 10, 2013, a Care Plan for alteration in kidney function, stage III
chronic renal failure was developed The only intervention for the care plan was administering
medications as ordered A full body assessment was not noted as having been performed and
there were no care plans developed for skin integrity risk or aspiration risk.

18. On September 11, 2013, the Nurses Note was as follows; “Resident restless this
evening,~' earlier in shift confusion noted. Reminders of time of day given. Breathing even and
unlabored. Skin warm and dry. Willing to work with therapy Sister unable to visit today but
called to check on resident.” There is no evidence of a thorough assessment, or vital signs.

19. On September 12, 2013, a Wound Care Note documented the following wounds
present on admission: l.) Unstageable pressure Wound (due to necrosis) to the left lower sacrum,
12.5 x 5.9 x 0 cm., no drainage with 90% eschar and 10% granulation; 2.) Stage ll right sacrum
11.5 X 5 x 0.1 cm, draining light serous exudate; 3.) Unstageable (pressure related) deep tissue
injury to right heel. Wound care was ordered by the treating physician and a plan was created to
float heels while in bed, sponge boots to feet, reposition per policy, and daily vitamin regimen

20. On September 15, 2013, the MDS Assessment indicated Ms. Brannon required

extensive assistance for all ADLs, including eating.

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-21. On September 15, 2013 at 7:30 pm, a Change in Condition Note indicated Ms.
Brannon had broken out in a cold sweat and was vomiting. She had a temperature of 98.1, pulse
of 59, BP of 148/73, but her respirations were not recorded Ms. Brannon’s oxygen saturations
were 94%. The nurse wrote,' "l am not sure of what the problem is, but there has been an acute
4 change of condition Dr. Lin was notified and ordered zoiran, phenergan, and accucheck. The
accucheck was not performed, rather it was written on the medication administration record to be
initiated the following day A complete physical assessment was not completed

22. On September 15, 2013 at 11148 p.m., a Change of Condition Note indicated Ms.
Brannon was diaphoretic and vomiting. Her vital signs included a temperature of 99.8, pulse of
53, blood pressure of 88/31, and respiration of 20. Ms. Brannon was complaining of left side
pain, PRN pain meds were given with relief, and Zofran was given for vomiting with no relief
noted. The physician was notified and gave orders to transfer Ms. Brannon to the hospital

23. Upon arrival to the Emergency Room, the attending physician noted Ms. Brannon
appeared ill and 'dehydrated, and was in severe distress. Her skin was diaphoretic and pale. Her
tongue was “tacky.” Lung sounds had bilateral basal crackles. She had critical lab values of
potassium 6.4 (range 3.5-5.3), BUN 113 (range '7-18), and Creatinine 7.6 (range 0.6-1.3),
indicating dehydration and renal failure She was given IV fluid bolus due to low blood
pressure

24. A foley catheter was inserted. The urine was noted to be concentrated, cloudy
and had sediment The urine was noted to be malodorous.

25. Ms. Brannon was initially alert, and while waiting for admission to the unit

Shortly after admission she had a sudden change in mental status and hypotension with a Blood

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Pressure of 80/36. She was in severe distress and unresponsive She was noted to be in
respiratory distress with agonal respirations. She was urgently intubated. A central line was
placed and vasopressors were initiated to maintain her blood pressure She was admitted to the
hospital with the diagnoses of: Sepsis; Urinary tract infection; Acute renal failure with severe
metabolic acidosis; Severe dehydration; Severe decubitus ulcer- Stage lV; R/ecent
intraparenchymal hemorrhage; and Acute respiratory failure, status post intubation on vent.

26. Ms. Brannon was evaluated by a Nephrologist and felt to be too unstable for

` dialysis. Her condition was critical and was deteriorating rapidly She had multiple episodes of
asystole, and she was coded multiple times She did regain a pulse multiple times after
essentially asystolic arrest. However, on the last arrest, despite optimal treatment, a pulse could
not be recovered and she died.

27. Ms. Brannon died on September 16, 2013 with cause of death listed as
cardiopulmonary arrest secondary to multiple factors including sepsis, acute renal failure, and
likely hyperkalemia.

COUNT I - NEGLIGENCE PER SE BASED UPON VIOLATION OF
REOUIREMENTS FOR LONG-TERM CARE FACILITIES AT 42 CFR 8483.1 et seq.
AS TO ALL DEFENDANTS

28. Golden LivingCenter-Rome is a licensed and certified long-term care facility that
provides skilled nursing care and rehabilitative services as a participant in the Medicare program
and that provides nursing care as a participant in the Medicaid program; Golden LivingCenter-
Rome receives funding under the Medicare and Medicaid programs

29. The U.S. Department of Health & Human Services has promulgated a number of
regulations pursuant to its authority under OBRA at 42 USCA § 1395i-3 related to the care,

treatment and services provided to residents of skilled nursing facilities participating in the

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Medicare program and nursing facilities participating in the Medicaid program Among those

regulations are the following:
a. 42 CFR §483.10 and 15(a) provide that the resident has a right to live a
dignified existence,
b. 42 CFR §483.13(0) requires the facility to implement protocols to protect
the resident from neglect,
c. 42 CFR §483.13(c)(2)-(4) requires the facility to investigate all allegations
of neglect, and to report the allegations of neglect and the results of the
investigation to the appropriate state agency within five (5) days of findings of
neglect The facility must also take appropriate corrective action upon
verification cfa violation,
d. 42 CFR §483.15 requires the facility to care for its residents in a manner
that maintains and enhances the resident’s quality of life,
e. 42 CFR §483.15(e)(1) requires that each resident be provided services in
the facility to accommodate their individual needs,
f. 42 CFR §483.20(b) requires the facility to prepare timely comprehensive
assessments of the resident’s needs,
g. 42 CFR §483.20(g) requires that the facility must perform an assessment
of the Resident that accurately reflects the resident’s status.
h. 42 CFR §483.20(k) requires the facility to develop a comprehensive care
plan to meet the resident’s medical, nursing and psychosocial needs identified in

the comprehensive assessment,

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i. 42 CFR §483.20(k)(3) requires that services provided or arranged by the

facility meet professional standards of quality and be provided by qualified

persons,

j. 42 CFR §483.25 requires the facility to provide services to attain and

maintain the highest practicable physical, mental and psychosocial well-being in

accordance with the resident’s assessments and Care Plan,

k. 42 CFR §483.25(a)(3) requires that the facility must provide the necessary

services for a resident to maintain good nutrition, grooming and personal hygiene,

l. 42 CFR §483.25(c)(2) requires that the facility must ensure that if a

resident has a pressure sore that he/she receives the necessary treatment and

services to promote healing, prevent infection and prevent new sores from

developing,

m. 42 CFR §483.25(d)(2) requires that a resident who is incontinent of

bladder receives appropriate treatment and services to prevent urinary tract

infections and to restore as much normal bladder function as possible,

n. 42 CFR §483.25(i) requires that the facility must ensure that a resident

maintains acceptable parameters of nutritional status and receives a therapeutic

diet when needed,

o. 42 CFR §483.25(]`) requires that the facility must provide each resident

with sufficient fluid intake to maintain proper hydration,

p. 42 CFR §483.30 requires the facility to maintain an adequate nursing staff,

and to provide a properly qualified nursing staff,

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q. 42 CFR §483.35 requires that the facility must provide each resident with
a nourishing, palatable, well-balanced diet that meets the daily nutritional and
special dietary needs of each resident

r. 42 CPR §483.35(d) requires thatthe facility must provide food prepared in
a form designed to meet the residents individual needs and that substitutes are
offered of similar nutritive value,

s. 42 CFR §483.40 requires the facility to keep the resident’s treating
physician informed of their medical condition,

t. 42 CFR §483.40(a) requires the facility to ensure that each patient’s
medical care is supervised by a physician,

u. 42 CFR §483.40(d) requires the facility to provide or make available
emergency medical care to residents at any and all times,

v. 42 CFR §483.75 requires that the facility be administered in such a way as
to use its resources effectively and efficiently to maintain the highest practicable
physical, mental and psychosocial well-being of each resident,

w. 42 CFR §483.7 5 requires properly trained, qualified and competent staff,
x. 42 CFR §483.75(b) requires the facility to operate and provide services in
compliance with law and acceptable professional standards and principles that
apply to professionals providing said services,

y 42 CFR §483°75(h) requires the facility to obtain outside services that
meet professional standards and principles and

Z. 42 CFR §483.75(1) requires that the facility must maintain clinical records

on each resident in accordance with accepted professional standards and practices

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30. As a licensed and certified long-term care facility which receives funding under
the Medicare and Medicaid programs, the Defendants’ facility is subject to the above federal
regulations for the provision of care, treatment and services to residents of the facility

31. As described in this Complaint, the Defendants violated the above regulations of
the U.S. Department of Health and Human Services in the following acts and omissions, among
others, to be demonstrated by the evidence:

a. Defendants failed to administer the nursing facility in such a way as to use
its resources effectively and efficiently to maintain the highest practicable

physical, mental and psychosocial well-being of Ms. Brannon,

b. Defendants failed to implement protocols to protect Ms. Brannon from
neglect,
c. Defendants failed -to operate and provide services to Ms. Brannon in

compliance with law and acceptable professional standards and principles that
apply to professionals providing said services,

d. g Defendants failed to provide or arrange services for Ms. Brannon that met
professional standards of quality,`

e. Defendants failed to prepare the proper assessments and care plans for the
identification of patients with condition changes at risk for the development of
sepsis and inulti-organ failure,

f. Defendants failed to maintain an adequate nursing staff to provide for Ms.
Brannon’s needs,

g. Defendants failed to provide properly trained, qualified and competent

staff to care for Ms. Brannon,

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h. Defendants failed to protect Ms. Brannon from neglect,
i. Defendants failed to properly train and supervise the nursing staff to
provide the appropriate care, monitoring treatment and services that Ms. Brannon
needed,
j. Defendants failed to timely and adequately communicate Ms. Brannon’s
medical conditions to her treating physician,
k. - Defendants failed to provide prompt emergency medical treatment to Ms.
Brannon when she needed it,
l. Defendants failed to recognize significant changes in a resident and
initiate a resident’s transfer to an acute care center sufficient to meet the resident’s
needs,
m. Defendants were negligent in all of the acts and omissions described in
paragraphs 13-27 above
32. The Defendants’ acts and omissions constituting violation of the above-referenced
federal regulations at 42 CFR §483.1 et seq. constitute negligence per se or negligence as a .
matter of law pursuant to OCGA §51-1-6.
33. Defendants’ failure to comply with the above federal mandates led directly to Ms.
Brannon’s serious injury, pain, suffering and death. '
34. As a result of the Defendants’ negligence per se and the resultant damages and
harm, the Plaintiff is entitled to an award of damages as set out below.
COUNT II - VIOLATlON OF REOUIREMENTS OF THE GEORGIA BILL OF RIGHTS

FOR RESIDENTS OF LONG~TERM CARE FACILITIES AT OCGA 831-8-100 et sea.
AS TO ALL DEFENDANTS

35. Golden LivingCenter-Rome is a “long-term care facility” as that term is defined

under OCGA §31-8-102(3).

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36. 'l'he State of Georgia has promulgated the Bi'll ofRights for Rest'dents ofLong-»
Term Care Facz`lz`ries at OCGA §31-8~100 et seq. which sets out requirements for those
providing care, treatment, and services to residents of long-term care facilities in this state ln
particular, OCGA § 31-8-108(a) requires that residents of long-term care facilities receive care,
treatment, and services that are adequate and appropriate and which must be provided with
reasonable care and skill and in compliance with all applicable laws and regulations (including
those listed in the preceding count of this Complaint), and with respect for the resideiit’s personal
dignity, among other requirements

37. Pursuant to its authority granted by statute, the Georgia Department of Human
Resources has promulgated a number of regulations for the provision of care, treatment, and
services to residents of long-term care facilities In particular, GA ADC 290-5-39-.07 requires
that each resident be provided with care, treatment and services which are adequate and
appropriate for the condition of the resident as determined by the resident’s developing care plan.
The regulation also requires that services be provided with reasonable care and skill and in
compliance with all applicable laws and regulations (including the state laws and federal
regulations identified above).

38. The Defendants violated the provisions of the Georgz'a Bz`l[ of Rz'ghts for Residents
of Long-Term Care Facilities and the regulations of the Georgia Department of Human
Resources identified above in all of the acts and omissions that are described in this Complaint
for Damages. Among the acts and omissions constituting violation of the Georgia Bill ofRig/its

for Residents ofLong-Term Care Facilities are the following:

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a. Defendants failed to administer the nursing facility in such a way as to use

its resources effectively and efficiently to maintain the highest practicable

physical, mental and psychosocial well-being of Ms. Brannon,

b. Defendants failed to implement protocols to protect Ms. Brannon from
neglect,
c. Defendants failed to operate and provide services to Ms. Brannon in

compliance with law and acceptable professional standards and principles that

apply to professionals providing said services,

d. Defendants failed to provide or arrange services for Ms. Brannon that met

professional standards of quality,

e. Defendants failed to maintain an adequate nursing staff to provide for Ms.

Brannon’s needs,

f. Defendants failed to provide properly trained, qualified and competent

staff to care for Ms. Brannon,

g. Defendants failed to protect Ms. Brannon from neglect,

h. Defendants failed to properly train and supervise the nursing staff to

provide the appropriate care, treatment and services that Ms. Brannon needed,

i., Defendants failed to timely communicate Ms. Brannon’s medical

conditions to hei treating physician,

j . Defendants failed to provide prompt emergency medical treatment to Ms.

Brannon when she needed it,

k. Defendants were negligent in all of the acts and omissions described in

paragraphs 13-27 above.

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39. Pursuant to OCGA §31»8-126(21), the Plaintiff has a cause of action for damages
against the Defendants as a result of Defendants’ violations of the rights granted under the
'Georgz`a Bi[[ of Rights for Resz'denz‘s of Long-Term Care Facilities such as those identified under
OCGA §31~8~108(a).

40. Additionally, the Defendants’ violations of the Georgz'a Bz'll of Rights for
Residents of Long-Term Care Facz`lz'ties and the regulations of the Georgia Department of
Human Resources set out above constitute negligence per se or negligence as a matter of law
pursuant to OCGA §51-1-6.

4l. Defendants’ failure to comply with the Georgia Bill of Rights for Residents of
Long-Term Care Facilz`ties and the regulations of the Georgia Department of Human Resources
set out above lead directly to the serious injury, terrible pain, suffering, anguish and death of Ms.
_ Brannon.

42. As a result of the Defendants’ acts and omissions constituting violation of the
Geo)'gia Bill of Righzs, for Residents of Long-T erm Care Facilities and negligence per se, and the
resultant damages and harm, the Plaintiff is entitled to an award of damages as set out below.

COUNT III - GENERAL NEGLIGENCE
AS TO ALL DEFENDANTS

43. Annice Brannon entered into a contract for the provision of rehabilitative therapy,'
care, treatment and services With the Defendants in this action, and pursuant to their agreement
the Defendants assumed a duty to exercise ordinary care in the provision of care, treatment, and
services to Ms. Brannon. The Defendants failed to exercise reasonable care in a number of
instances with respect to the care, treatment, and services'provided to Ms. Brannon, and as a
result she sustained serious injury, great pain, suffering, and death as a result as demonstrated

below.

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44, Defendants failed to maintain an adequate nursing staff to provide for Ms.
Brannon’s needs.

¢l$. Defendants failed to provide properly trained, qualified, and competent staff to
care for Ms. Brannon.

46. Defendants failed to properly train and supervise the nursing staff to provide the
appropriate care, treatment, and services that Ms. Brannon needed.

47. Defendants’ staff was negligent in a number of other ways identified herein and to
be further demonstrated by the evidence

48. Many of the Defendants’ acts and omissions described herein are ministerial in
nature and constitute simple negligence for which the Defendants are liable to the Plaintiff

49. As a direct and proximate result of each one of the above-described negligent acts
and omissions, Ms. Brannon suffered grave injury, death and suffered tremendously.

50. As a result of the foregoing acts and omissions and the resultant injuries, pain,
suffering, and death of Ms. Brannon, the Plaintiff is entitled to recover from the Defendants as
set out below.

COUNT IV - PROFESSIONAL NEGLIGENCE
AS 'I`O ALL DEFENDANTS

5]. Annice Brannon entered into a contract with the Defendants for the provision of
rehabilitative therapy, care, treatment, and services at the Defendants’ facility, and Defendants
failed to provide that care, treatment, and service as described herein.,

52. Pursuant to the requirements of OCGA §9-11-9.1, the Plaintiff has attached hereto
the affidavit and CV of Denise Dzialo, RN who is a Registered Nurse duly licensed to practice
nursing by the State of Georgia. Nurse Dzialo has prepared an affidavit which sets forth the

Defendants’ acts and omissions related to the care, treatment, and services provided to Ms.

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Brannon which proximately caused her severe injury, pain, suffering, and death and which
illustrate Defendants’ failure to provide the degree of care and skill required of these Defendants
in their professions, as set out below. The Plaintiff hereby incorporates by this reference the
entire contents of Nurse Dzialo’s affidavit and CV.

53. Pursuant to her education, training, and experience, Nurse Dzialo is familiar with
the guidelines and regulations of Long-Term Care Facilities including the requirement to comply
with physician’s orders.

54. Also pursuant to her education, training, and experience, Nurse Dzialo is familiar
with the proper care of patients who have medical conditions similar to Annice Brannon,
including, but not limited to, stroke, hypertension, atn'al fibrillation, and congestive heart
failure

55. Pursuant to her education, training, and experience, Nurse Dzialo is fully familiar
with the Long Term Care facility requirements for a resident’s physical condition to be
monitored and care rendered as ordered

56. Pursuant to Nurse Dzialo’s education, training and experience, she is fully aware
of the circumstances under Which a patient is in need of the services of a physician for care and
treatment of an acute change in condition Her experience includes provision of emergency
medical care when the patient needs it.

57. As a result of her education; training and experience as outlined in her attached
Affidavit and CV, Nurse Dzialo is hilly competent to testify as to the acceptable standards of
care With respect to the below referenced aspects of nursing care, both for nursing care that
occurs at a nursing home, assisted living facility and/or any type of long-term care setting, as

well as nursing care that occurs in a hospital setting.

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58. The standard of care for staff in the long term care setting requires that the staff
prepare proper assessments and care plans for the identification of patients with condition
changes at risk for the development of sepsis and multi-.organ failure caused by improper
monitoring, handling, provision of care, and to provide proper care for the prevention and

treatment of the same.

59. The standard of care for staff in the long term care setting requires that the staff
provide appropriate monitoring and update care plans when the needs of a resident has changed
substantially

60. The standard of care for staff in the long term care setting requires that the staff
recognize significant changes in a resident and initiate a resident’s transfer to an acute care
center sufficient to meet the resident’s needs.

61. The standard of care for staff in the long term care setting requires that the
staff obtain immediate emergency or hospital care when the resident's condition requires it.

62. Defendants’ nursing staff failed to complete thorough physical assessments on
Ms. Brannon.

63. Defendants’ nursing staff failed to develop a care plan with appropriate
interventions for a resident at risk for dehydration

64. Defendants’ nursing staff failed to develop a care plan for skin integrity for a
resident admitted with skin issues.

65. Defendants’ nursing staff failed to recognize signs and symptoms of dehydration

66. Defendants’ nursing staff failed to adequately monitor intake and output.

67. Defendants’ nursing staff failed to inform the physician and family of poor

intake.

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68. Defendants’ nursing staff failed to recognize Ms. Brannon’s deteriorating
condition and failed to transfer her to the hospital in a timely manner

69. Defendant[s’ nursing staff failed to provide Ms. Brannon the highest practicable
physical, mental, and psychosocial well-being.

70. As a direct and proximate result of each one of the above described failures to
follow the acceptable standards of care, Annice Brannon lacked appropriate health care, causing
tremendous struggle, pain, suffering, and death.

71. All of the Defendants’ acts and omissions described above constitute professional
negligence, as a result of which the Plaintiff is entitled to recover from the Defendant as set out

below.

COUNT V - BREACH OF CONTRACT
AS TO ALL DEFENDANTS

72. Annice Brannon entered into a contract on for the provision of rehabilitative
therapy, care, treatrnent, and services with the Defendants in this action, and pursuant to that
agreement the Defendants had a duty to exercise ordinary care in the provision of care,
treatment, and services to Ms. Brannon. The Defendants failed to exercise reasonable care with `
respect to the care, treatment and services provided to Ms. Brannon, and she sustained serious
illness, injury, pain, suffering, and death as a result'.

73. In the wrongful acts and omissions described in detail above and in the
insufficiency of care, treatment, and services outlined herein, the Defendants failed to provide
the services that it promised to provide pursuant to the contract for services entered between the
Defendants and Ms. Brannon. The Defendants therefore breached the contract for services as set

out herein.

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74. As a result of the foregoing, Plaintiff_Nellie Smith, in her individual capacity and
in her capacity as the Temporary and Anticipated Administrator of the Estate of Annice
Brannon, is entitled to recover all amounts paid to obtain services under the contract and all
consequential damages arising there from.

COUNT VI - IMPU'I`ED LIABILITY
AS TO ALL DEFENDANTS

75. All of Ms. Brannon’s injuries and damages were the direct result of the acts and
omissions of the agents, servants, and employees of the Defendant business entities, conducted
within the course and scope of each individual’s employment with the Defendant business entity
health care providers

76. The Defendant business entities are therefore vicariously liable for the individual
employee’s and agent’s acts and omissions, and for each individual officer, director, employee,
agent, and servant’s negligent acts and omissions, and the resultant injuries, death, and damages
of Ms. Brannon by application of the doctrine of respondeat superior The Plaintiff is therefore

entitled to recover damages from the Defendants as set out below.

COUNT VII - WRONGFUL DEATH
AS TO ALL DEFENDANTS

77. As set out above, Ms. Brannon sustained grievous illness, infection, suffered
tremendously, and ultimately died as a direct result of the Defendants’ acts and omissions in the
provision of care, treatment, and services to her which constituted violations of federal and state
law, professional negligence, simple negligence, and negligence per se.

78. Ms. Brannon is survived by her sister, Annice Brannon, the Plaintiff herein and

her brother Robert Ward.

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79. As a result of the Defendants’ violations of federal and state law9 professional
negligence, simple negligence, negligence per se, and l\/Is. Brannon’s resultant death, as set out
in detail above, Plaintiff is entitled to recover damages against the Defendants for Ms. Brannon’S
wrongiiil death in an amount equal to the full value of the life of the deceased

COUNT VII - JOINT ENTERPRISE
AS TO ALL DEFENDAN'I`S

80. At the time of the negligent acts and omissions and Annice Brannon’s resultant
injuries, death, and damages described above, the Defendants combined.their property and labor
in a joint undertaking for the provision of long-term nursing home care, treatment and services
for a fee. Each had rights of mutual control over all aspects of the residenee, care, treatment and
services provided to Ms. Brannon while she was a resident at Golden LivingCenter-Rome.

81. By virtue of the foregoing, all of the Defendants are liable to the Plaintiff herein

for money damages as set out below by application of the joint enterprise theory of recovery.

COUNT VIII - NEGLIGENT HIRING, RETENTION. TRAINING AND SUPERVISION
AS TO ALL DEFENDANTS

82. Plaintiff realleges and incorporates by reference its allegations in Paragraphs l
through 81 as if fully set forth herein.

83. Defendants operate a nursing home and are subject to the statutes, rules and
regulations promulgated by the State of Georgia regarding the operation of a nursing home. l
Defendants must, at all times, comply with said statutes, rules and regulations

84, Pursuant to the applicable statutes, rules and regulations, Defendants are required
to hire, train, retain, and supervise a sufficient number of qualified.staff to provide the necessary
care, treatment and oversight for all residents at Golden LivingCenter-Rome including Annice

Brannon.

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85. . Defendants failed to hire, train, retain, and supervise a sufficient number of \
qualified staff to provide the necessary care, treatment and oversight for all residents at Golden
LivingCenter~Rome including Annice Brannon.

86. Defendants’ failure to comply with the applicable statutes, rules and regulations,
as alleged in the preceding paragraphs, was willful misconduct by Defendants

87. Defendants’ failure to comply with the applicable statutes, rules and regulations,
as alleged in the preceding paragraphs, demonstrates a conscious indifference to the
consequences of such failure.

88. As a proximate result of Defendants’ failure to comply with the applicable
statutes, rules and regulations, as alleged in the preceding paragraphs, Annice Brannon was
neglected, suffered serious illness, injury, pain, suffering, and death as a result.

89. As a result of the Defendants’ negligent hiring, retention, training, supervision,
and the resultant damages and harm, the Plaintiff is entitled to an award of damages as set out
below.

COUNT IX - ESTATE’S TORT CLAIMS

90. Plaintiff realleges and incorporates by reference its allegations in Paragraphs l
through 89 as if fully set forth herein.

91. Plaintiff Nellie Smith is the Temporary and Anticipated Administrator of the
Estate of Annice Brannon, and she prosecutes these claims in that capacity

92. As set out above, Ms. Annice Brannon sustained grievous injuries, illness,
infection, pain, suffering as a direct result of Defendants’ acts and omissions which constitute
violations of federal and state‘law, professional negligence, general negligence and negligence

per se.

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93. ln her capacity as the Temporary and Anticipated Administrator of Ms. Brannon’s
Estate, Plaintiff is entitled to recover all damages to which Ms. Brannon would have been
entitled had she survived. As a result of the Defendants’ wrongful conduct, Ms. Brannon
incurred medical and related expenses for her care, treatment and services Ms. Brannon also
endured untold pain and suffering as a result of Defendants’ negligent acts and omissions

94. Based on the foregoing, Plaintiff, as the Temporary and Anticipated
Administrator of Annice Brannon’s Estate is entitled to recover from Defendants damages equal
to all expenses incurred in the provision of medical care and treatment to Ms. Brannon resulting
from the Defendants’ wrongful conduct. This Plaintiff is also entitled to recover damages for
Ms. Brannon’s conscious pain and suffering resulting from Defendants’ wrongful conduct.

WHEREFORE, the Plaintiff prays for the following:

a. That service of process be had upon the Defendants,

b. 'l`hat this case be tried before 12 fair and impartial jurors on all issues so
tiiable,

c. That judgment be entered against the Defendants in amounts in excess of

310,000.00 with all costs to be taxed against the Defendants,

d. That the Court grant the Plaintiff all other relief that it deems appropriate

/WM{W

W. Todd Harvey
Georgia Bar No.: 335553
One of the attorneys for the Plaintiff

This 15th day of September, 2015

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BURKE HARVEY, LLC
3535 Grandview Parkway
Suite 100

Birmingham, AL 35243
Phone: 205-930-9091

Fax: 205-930-9054

tharvey@burkeharvey.com g M)
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7

Michael A. Prieto
Georgia Bar No.: 587236
William F. I-lolbert
Georgia Bar No.: 360088
, One of the attorneys for the Plaintiff
Of counsel:

Michael A. Prieto

Georgia Bar No.: 587236

SLOVER PRIETO MARIGLIANO & HOLBERT, LLC
Two Ravinia Drive

Suite 1330

Atlanta, GA 30346

A TTORNEYS FOR PLAINTIFF

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AFFIDAVIT
Personally appeared before me, the undersigned officer duly authorized to administer
oaths, Denise Dzialo, RN who, after being duly sworn, deposes and states the following:
l.
The affiant is of sound mind and legal age and is fully competent to testify to the

matters Stated herein. The affiant makes this affidavit upon her own person§n_lc` knowledge
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unless otherwise stated herein. §§ ~r

 

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,". F;§:?:' 33 v
Your affiant is a Registered Nurse licensed to practice nursing in the Stat§§tif? €.":§Ygia.;_‘:,~ k

2.

 

1 l -_.

have over 30 years of nursing experience in acute and long term care. l h§ve o.';er ZOO)c/,ears'in
nurse management experience, including over 16 years as a Director of Nursing in the long term
care setting. As shown in my attached CV, l was active in the practice of skilled nursing in a
long term care facility or in a hospital setting where l provided frequent and regular care to
geriatric residents requiring rehabilitation for three of the last five years immediately preceding
Defendants negligent treatment of Ms. Annice Brannon while at Golden Living Center.

3.

Specifically, from April, 2005 through February, 2006, I was the Director of Clinical
Services at Select Specialty Hospital, a Long Term Acute Care facility l was responsible for
overseeing and supervising the nursing care and ADL care, provided by the nursing and non~
nursing staff within my unit. 1 would assist, instruct and provide proper nursing and ADL care
on my unit. in addition, l regularly provided monitoring and care of residents with wound care
and treatment, pain management, as well as hydration'and nutritional support From March,

2006 through June 2008, 1 served as the Administrative Nursing Supervisor at Wellstar Cobb

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Hospital where my duties were consistent throughout my position there. Along with my
management and administrative responsibilities of overseeing, educating and training the
nursing and nursing support staff, l provided hands-on clinical care to residents on a daily
basis. Many of these residents had suffered strokes and required extensive assistance with
activities of daily living. My resident care duties included, but were not limited to:

a. Rounding every day on residents to do assessments and evaluations for acuity
levels, care needs, and compliance with care plans and physician's orders;

b. Assess residents upon admission to determine appropriate hospital placement

My assessments included, but were not limited to, a review of resident records, conversations
with attending nursing staff, and person-to~person evaluation of residents to determine their
medical status;

c. Assess and provide pain management to residents who were admitted with chronic

and/or acute pain issues;

d. Assess and provide care to residents who have hydration and nutrition needs;

e. Frequently provided wound care, wound care evaluations, consulted with wound
care nurses, and assisted with wound care evaluations when requested by the treating
physician;

f. Frequently responded to codes within the hospital for residents in cardiac or
respiratory arrest;

g. Provided care, developed care plans and implemented interventions for residents
with recent operative procedures;

h. Rounded regularly for outcomes, including but not limited to, assessing

residents to ensure care plans and physician's orders were followed, and resident

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ADL care was being given;

i. Regularly provided one-on-one nursing education to staff by providing hands on
care with staff at the resident's bed side to demonstrate proper care techniques concerning
physical assessments, wound care, infection control, ADL care, mobility, transfers and resident
safety; v

l 4.

From July, 2008 through March, 2013, l served as a Director of Nursing for two long
term care facilities, first at Gwinnett Extended Care Center, then at Lenbrook Square. I also
served as a Director of Nursing from 1996 through 2006 at various other long term care
facilities l.\/ly duties as a Director of Nursing were consistent throughout my positions at the
various facilities Along With my management and administrative responsibilities of
overseeing, educating and training the nursing and nursing support staff, I provided hands-on
clinical care to residents on a daily basis lt was not uncommon for resident’s condition to
deteriorate requiring closer monitoring and/or transfer to an acute care facility My resident care
duties included, but were not limited to those referenced in Paragraph 3 above, and the
following:

a. Teaching in-services on a variety of care related topics to staff;

b. Attending, participating in and drafting of resident care plans;

5.

For a more detailed description of my credentials, including my education, training,

experience and employment history, l have attached a true and correct copy of my updated

CV to this affidavit

 

§,/

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6.

Based on the foregoing, l have extensive education, training and experience in all
aspects of the provision of nursing care, treatment and services to patients in a medical facility
for at least three out of the five years preceding Ms. Brannon’s residence at Golden Living
Center.

7.

Pursuant to my education, training and experience, your affiant is familiar with the
guidelines and regulations of Long Term Care Facilities including the requirement to comply
with physicians orders

8.

Also pursuant to my education, training and experience, I am familiar with the proper
care of patients who had medical conditions similar to Annice Brannon, including but not limited
to stroke, hypertension, atrial fibrillation, and congestive heart failure

9.

Pursuant to my education, training and experience, l am fully familiar with the
Long Term Care facility requirements for a resident’s physical condition to be monitored and
care rendered as ordered.

lO.

Pursuant to my education, training and experience, your affiant is fully aware of the
circumstances under which a patient is in need of the services of a physician for care and
treatment of acute condition change My experience includes provision of emergency medical

care when the patient needs it.

 

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ll.

As a result of my education, training and experience outlined above, I am well
qualified to testify as to the acceptable standards of care with respect to the below referenced
aspects of nursing care, both for nursing care that occurs at a nursing home, assisted living
facility and/or any type of long-term care setting as well as nursing care that occurs in a
hospital setting.

12.

The standard of care for staff in the long term care setting requires that the staff
prepare proper assessments and care plans for the identification of patients with condition
changes at risk for the development of sepsis and multi-organ failure caused by improper
monitoring, handling and the provision of care and to provide proper care for the prevention
and treatment of the same.

13,

The standard of care for staff in the long term care setting requires that the staff
provide appropriate monitoring and update care plans when the needs of a resident has changed
substantially

14.

The standard of care for staff in the long term care setting requires that the staff
recognize significant changes in a resident and initiate a resident’s transfer to an acute care center
sufficient to meet the resident’s needs

15.
The standard of care for staff in the long term care setting requires that the staff obtain

immediate emergency or hospital care when the resident's condition requires it.

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16.

Your affiant has reviewed records and charts related to the medical and nursing care,

treatment and services provided to Annice Brannon by Golden Living Center. In addition, I am

familiar with the allegations of the complaint to which this affidavit is attached.

17.

Based upon my review of the records, I have learned the following, which l will assume to

be true for purposes of this affidavit

8..

Annice Brannon was SO-years-old when she was admitted to Golden Living Center on
September 9, 2013. At the time, Ms. Brannon had a history of stroke, hypertension, atrial
fibrillation, and congestive heart failure.

On admission,'Ms. Brannon was alert with memory and decision making deficits She
was incontinent of bowel and bladder. She had left-sided weakness She required
extensive assistance with all activities of daily living

The admission assessment indicated Ms. Brannon was at nutritional risk due to poor
appetite and swallowing problems An immediate Care Plan for nutrition and
dehydration was initiated but had limited interventions

Ms. Brannon was on a pureed diet with honey thick liquids She required assistance with
feeding

On September 10, 2013, a Care Plan for alteration in kidney function, stage ill chronic
renal failure was developed The only intervention for the care plan was administering
medications as ordered. There was no care plans developed for skin integrity risk or
aspiration risk.

On September 12, 2013, a wound assessment note indicated an unstageable wound to the

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left lower sacrum measuring 12.5 x 5.9 x 0 cm, stage il right Sacrum measuring ll.5 x 5
x 0.1 cm and unstageable (pressure related) deep tissue injury to right heel. These
wounds were noted to be present on admission

g. On September 15, 2013, the MDS Assessment indicated Ms. Brannon required extensive
assistance for all ADLs, including eating.
h. On September 15, 2013 at 7:30 pm, a Change in Condition Note indicated Ms. Brannon
had broken out in a cold sweat and was vomiting. She had a temperature of 98.1, pulse
of 59, BP of 148/73, but her respirations were not recorded. The oxygen saturations were
94%. The nurse wrote, "l am not sure of what the problem is, but there has been an acute
change of condition. Dr. Lin was notified and ordered Zofran, Phenergan, ' and
Accucheck. The Accucheck was not performed rather it was written on the medication
administration record to be initiated the following day. A complete physical assessment
was not completed
At l l :48 p.m., a Change of Condition Note indicated Ms. Brannon was diaphoretic and
vomiting. Her vital signs included a temperature of 99.8, pulse of 53, BP of 88/31, and
respiration of 20. Ms. Brannon was complaining of left side pain, PRN pain meds were
given with relief, and Zofran was given for vomiting with no relief noted. The physician

was notified and gave orders to transfer Ms. Brannon to the hospital.

Upon arrival to the ER, the physician noted Ms. Brannon appeared ill and dehydrated,
and was in severe distress Her skin was diaphoretic and pale. Her tongue Was “tacky.”
Lung sounds had bilateral basal crackles. She had critical lab values of potassium 6.4

range 3.5-5.3, BUN ll3- range 7-18, and Creatinine 7.6, range 0.6-1.3; these indicate

 

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dehydration and renal failure She was given lV fluid bolus due to low blood pressure

k. A Foley catheter was inserted. The urine was noted to be concentrated, cloudy and had
Sediment. The urine was noted to be malodourous.

I. She was initially alert, and while waiting for admission to the unit, had a sudden change
in mental status and hypotension with a BP of 80/36. She was in severe distress and
unresponsive She was noted to be in respiratory distress with agonal respirations She
was urgently intubated. A central line was placed and vasopressors were initiated to
maintain her blood pressure. She was admitted to the hospital with a diagnoses of sepsis,
urinary tract infection, acute renal failure with severe metabolic acidosis, severe
dehydration, severe decubitus ulcer, stage IV, recent intraparenchymal hemorrhage, and
acute respiratory failure, s/p intubation on vent.

m. Ms. Brannon was evaluated by a Nephrologist and felt to beltoo unstable for dialysis Her
condition was critical and was deteriorating rapidly. She had multiple episodes of
asystole, and she was coded multiple times She did regain a pulse multiple times after
essentially asystolic arrest. However, on the last arrest, despite optimal treatment, a pulse
could not be recovered and she died.

18.

Based upon the above facts, your affiant has developed the following opinions about
the care, treatment and services that the Golden Living Center staff provided to Annice
Brannon:

1. Golden Living Center staff failed to complete thorough physical assessments on

Ms. Brannon.

2. Golden Living Center staff failed to develop a care plan with appropriate

 

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interventions for a resident at risk for dehydration.

3., Golden Living Center staff failed to develop a care plan for skin integrity for a

resident admitted with skin issues

4. Golden Livirig Center staff failed to recognize signs and symptoms of dehydration.

5. Golden Living Center staff failed to adequately monitor intake and output.

6. Golden Living Center staff failed to inform the physician and family of poor

intake

7. Golden Living Center staff failed to recognize Ms. Brannon’s deteriorating condition

and failed to transfer her to the hospital in a timely manner.

8. Golden Living Center staff failed to provide Ms. Brannon the highest practicable

physical, mental, and psychosocial well-being.
19.

As a result of each one of the above described failures to follow the acceptable
standards of care, Annice Brannon lacked appropriate health care, causing tremendous struggle,
suffering and death.

20.

This Affidavit is given pursuant to the provisions of Official Code of Georgia
Annotated§ 9-ll-9.l, which states that a single negligent act or omission be specified in
order for a Complaint to be filed in the Courts of Georgia. lt is not intended to encompass all
of the opinions presently held by me. Rather, as discovery progresses and additional

information becomes available, I reserve the right to modify or alter or form additional

opinions

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Further affiant sayeth not.

This g day Of A:jL/C>l ,2015.
l 44 £)

Denise Dzialo, RN

Q-/M

§worn/to and subscribed before md

this at dayof Ac§i,,-i~ 2015.

Notary Public
My commission expires: g» /§'- j 01 `7

s"_".'“~`-’?.”jl“/¢. iosEPH MicHAEL scHiNELL
g `_ * MYcoiiiiissioNiFszeig
ii g ExPiaEs:Augusis,zon

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’W)EOF moss Bonded Thru Budgei Notary Services

 

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Denise Dzialo, R.N.
259 Chipola Cove
Destin, FL 32541

678-428-7787

Objective: To make a difference in how quality healthcare ls delivered by utilizing my Management skills and Nursing
expertise To use my Nursing background to do Legal Nurse Consultant work in LTC/Acute ca re settings, offering an
objective review of medical records

E)q;;ertise:v

* 30 plus years of Nursing in Acute and Long Term Care
* 30 plus years in Nursing l\/|anagement positions

* 7 yrs. Medical Sales Management

* 8 yrs. Legal Nurse Consulting

* Llcensed RN in Ga., F|a., and Va.

Education:
Columbus Hosplta| School of Nursing - Chicago, ll|. 1966-1969
DePaul Unlversity & Univ. of S. Florida _
DON LTC Admlnlstration Certificatlon 2006-present
LNC - Kap|an Unlverslty 2005-2006
NADONA member 2004-present
§§P£"M_C.e.=
l_)_i_rector of Nursing

Lenbrook Square
Start up for Medicare certification 60 beds (Deficiency free) 11/10 -3/13

' responsible for ongoing weekly ln servicing in a|| Nursing areas which was instrumental in getting our
C.N.A., LPN, and RN staff ready for certifications Monthly in servicing was ongoing

' taught all phases of wound care Nursing practice in compliance with CMS requirements

' Head of the wound care rounds done weekly in conjunction with our Wound Care physician and actively
did dressing changes, measurements and monitored Nursing documentation weekly.

° initiated a joint effort between our Rehab therapists and our Restoratlve nurse and we taught all Nursing
shifts the difference in assistance levels for resident transfers and all ADL's. l conducted at the bedside
demonstrations to C.N.A's to help transfers improve due to frequent skin tear challenges

' head of lnfectlon Contro| with Medical Director oversight and followed all lnfectlons from.beginning to end
as well as percentage tracking and trending required by CN|S. l attend frequent l.C seminars when
available ln servicing done quarterly to ensure Nurse compliance.‘

' conducted weekly "Nutritlonal Alert" meeting with the |nterdiscip|inary team, which included a Registered
Dieti'tlan. l put all interventions in place.

° worked with the Care Plan Coordinator to update Incidents and wound care on a daily basis. l did in
servicing for the Nursing staff to ensure current updated care plans. l did all follow up on any
resident/family concern that was voiced in Care Plan Conferences.

° responsible for ClVlS requirements addressing all special equipment and policies used in resident care such
as enteral feeding, orthopedic appliances, specialty beds for pressure ulcer prevention, as well as specialty
ala rms, and Wanderguard system used for resident safety.

' head of the Restraint committee and did assessments to ensure restraints should be used, as well as
assessments to discontinue restraints

' conducted monthly Psychotroplcs meetings with the charge nurses as well as with our Pharmacy
consultant

 

`(“

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Director of Nursing 7/08 ~11/10
Gwinnett Extended Care Center

Responsible for a 89 LTC facility (Deficiency free 2011)

(See abovejob description)

Administrative Nursvin_g Supervisor 3/06 - 6/08
Wellstar Cobb Hospital
Responsible for Staffing, Bed Placement, Patient care for a 400 bed facility.

responsible for all after hour admissions and bed placement, which included the opening of swing beds and
calling in staff to handle large volumes of patients Assignments were made based on my review of medical
assessments and my patient observations made at the time of assessment 4
Assisted at bedside with the care of adult and geriatric patients when staffing was challenged Part of my
responsibilities included taking care of the needs of the patients on the units when others could not attend
to them timely. Frequently l assisted Dr.’s at the bedside with exams and bedside procedures l relieved the
nurse on the unit for meals if there was no other replacement l assisted in .adult and Geriatric patient care
in the emergency room as well when acuity was high, helping with fresh emergencies and code situations l
answered call lights and assisted in dressing changes, the transferring of patients, and ADL care, when
needed to ensure quality care was given timely. l assisted in the lCU unit when acuity became high and
assessed conditions of patients when updates were requested by family members

active participant in all emergency procedures occurring on the units as well as the E.R., such as, Cardiac
and Respiratory codes, of adults and Geriatrics.

Rounded for outcomes on any high acuity patient situation as well as handling Nursing compliance regarding
Cl\/lS, OSHA, and Joint Commission guidelines Rounding for positioning compliance related to wound care
and enteral feeding patients as well as checking restraint compliance Chart auditing done for State and
Federa| compliance Consulted with the WOCN when looking for treatment options for our complex wound

patients
one on one Nursing education to ensure patient safety and physician order compliance as well as family

education when issues presented

D'i§ector of C|inlcal Services 4/05-2/ 06

Se|ect Specialty Hospital
Responsible for a 30 bed LTAC ventilator unit

(Same as DON job responsibilities for DON above with heavy emphasis on wound car and trach./vent/respiratory

care.)

Director of Nursing 1998~2005
Cypress Healthcare

Woodstock Nursing and Rehabilitation Center
Responsib|e for a 170 bed LTC/Rehab. Facility
(Same as DON job responsibilities for DON above)

Director of Nursing 1996-1998
Ross lVlemorial Healthcare Center

Responsible for a 100 bed facility
(Same as DON job responsibilities above)

Administrative Nursng Supervisor 1994~1996
Shorham Nursing & Rehab Center 170 beds
(Same as DON job responsibilities as above.)

ease 1:15-@\/-'03600-3<:3 Documem 1-1 l=iled 10/09/15 Page 40 of 33

IN THE STATE COURT OF COBB COUNTY

STATE OF GEORGIA

NELLIE SMITH, Individuaiiy and as the
Temporary and Anticipated Administratot
of the Estate of ANNICE BRANNON,
Deceased,

Plaintiff,
v.
GGNSC ROME, LLC d/b/a GOLDEN

LIVB\lGCENTER~ROl\/IE; GGNSC
HOLDINGS, LLC; GOLDEN GATE

NATIONAL SENIOR CARE, LLC; GGNSC

ADMINISTRATIVE SERVICES, LLC;

GOLDEN GATE ANCILLARY, LLC; GGNSC

CLINICAL SERVICES, LLC; and
JOHN/IANE DOES l and H,

Defendants

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CIVIL ACTION FILE NO.: 50

 

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AFFIDAVIT OF SERVICE OF PROCESS

COMES NOW JEANIE MOORE, before the undersigned officer duly authorized to

administer oaths, and being sworn on oath, deposes and states that she is not related to any party,

has no interest in the above Styled case, is not a convicted felon, is a resident of Georgia and is a

native born citizen of the United States of Arnerica, and Says:

vl

That ll Served GGNSC ROME. LLC d/b/a GOLDEN LINVINGCENTER~ROME upon

their Registered Agent CSC of Cobb Countv at 192 Anderson Strcet SE, Suite 125, Marietta, GA

30060 with a Surnrnons, Complaint for Damages, Plaintiff’s First Requcst for Production of

Docurnonts to all Defendants and Plaintiff’$ First lnterrogatories to all Defendants by handing

the Same to /r\;;{`r`t 'MOD on the lg% day of September, 2015, at

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(ngnaz‘ure on the following page)

ease 1515-cv-Oseoo-SCJ Documem 1-1 Filed 10/09/15` Page 41 ores

This ,ZZ day of September, 2015.

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Jea.nie oore,
Process Server

Sworn to and subscribed before me this mm
day pf , 6 ~\/‘ ,2015. \\\\S u,,,

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Case 1:15-oV-03600-SCJ Document 1-1 Filed 10/09/15 Page 42 of 83

lN THE STATE COURT OP COBB COUN`TY
STATE OF GEORGIA

NELLIE SMITH, lndividually and as the
Temporary and Anticipated Adrninistrator
of the Estate of ANNICE BRANNON,
Deceased',

 

CIVIL ACTION FILE NO.:

\

Plaintiff,

 

V.

LIVINGCENTER-ROME; GGNSC
HOLDINGS, LLC; GOLDEN GATE
NATIONAL SENIOR CARE, LLC; GGNSC
ADMINISTRATIVE SERVICES, LLC;
GGLDEN GATE ANCILLARY, LLC; GGNSC
CLINICAL SERVICES, LLC; and
JOHN/JANE DOES I and ll,

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GGNSC ROME, LLC d/b/a GOLDEN )
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Defendants )
AFFIDAVIT OF S RVlCE OF PROCESS
COMES NOW JEANIE MOORE, beifore the undersigned officer duly authorized to
administer oaths, and being sworn on oath, deposes and states that she is not related to any party,
has no interest in the above styled ease, is not a convicted felon, is a resident of Georgia and is a

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native born citizen of the United States of Americ\a,\and says:,"

l.
That I served GGNSC HOLDINGS, LLC upon their Registered Agent CSC of Cobb

Countv at 192 Anderson Street SE, Suite 125, Marietta, GA 30060 with a Summons, Complaint
for Darnages, Plaintiff’s Pirst Request for Production of Doeurnents to ali Defendants and

Plaintiff’s First Interrogatories to all Defendants by handing the same to

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\ Q{f\ \Y\\{m-\ngon the ff day of September, 2015, at YK/Qg o’clocl< j,Q.rn

(Signature nn the following page)

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This l "/ day of September, 2015.

Case 1:15-CV-03600-SC.] Document 1-1 Filed 10/09/15 Page 43 of 83

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Jeanie oore,
Process Server

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day of C ~ , 2015` `\`\\\\lllm,,l

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Case 1:15-CV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 44 of 83

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NELLIE SMITH, individually and as the
Temporary and Anticipated Adrninistrator
of the Estate of ANNICE BRANNON,
Deceased,

Plaintiff,

 

V.

LIVINGCENTER-ROME; GGNSC
HOLDINGS, LLC; GOLDEN GATE
NATIONAL SENIOR CARE, LLC;, GGNSC
ADMINISTRATIVE SERVICES, LLC;
GOLDEN GATE ANCILLARY, LLC; GGNSC
CLINICAL SERVICES, LLC; and
JOHN/JANE DOES I and ll,

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GGNSC ROl\/IE, LLC d/b/a GOLDEN )
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Defendants )
AFFIDAVIT OF SERVICE OF PROCESS

COMES NOW JEANIE MOORE, before the undersigned officer duly authorized to
administer oaths, and being sworn on oath, deposes and states that she is not related to any patty,
has no interest in the above styled case, is not a convicted felon, is a resident of Georgia and is a

native born citizen of the United States of Arnerica, and says:

1.
That l served GOLDEN GATE NATIONAL SENIOR CARE, LLC upon their Registered

Agent CSC of Cobb County at 192 Anderson Street SE, Suite 125, Marietta GA 30060 with a
Surnmons, Complaint for Damages, Plaintifi’s First Request for Production of Documents to all

Defendants and Plaintist First interrogatories to all Defendants by handing the same to

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{.Q (‘f`, MDW\|PS(/h on the /C/ day of September, 2015, at //ng’cloekg<.m.

(S£gnalure on the following page)

Y/“
This / C/ day of September, 2015.

 

Case 1:15-CV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 45 of 83

Sworn t and subscri d before me this

 

 

 

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' Case 1:15-CV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 46 of 83

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STATE OF GEORGIA

NELLIE SMITH, lndividually and as the
Temporary and Anticipated Adrninistrator
of the Estate of ANNICE BRANNON,
Deceased,

Plaintiff,

 

V.

GGNSC ROME, LLC d/b/a GOLDEN
LIVYNGCENTER-ROME; GGNSC
HOLDINGS, LLC; GOLDEN GATE
NATIONAL SENIOR CARE, LLC; GGNSC
ADMINISTRATIVE SERVICES, LLC;
GOLDEN GATE ANCILLARY, LLC; GGNSC
CLlNICAL SERVICES, LLC; and
.lOHN/JANE DOES l and Il,

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Defendants

AFFIDAVIT OF SERVICE OF PROCESS
COMES NOW JEANIE MOORE, before the undersigned officer duly authorized to

administer oaths, and being sworn on oath, deposes and states that she is not related to any party,
has no interest in the above styled case, is not a convicted felon, is a resident of Georgia and is a

native born citizen of the United States of Arnerica, and says:

l.
That l served GGNSC ADMINISTRATIVE SERVICES, LLC upon their Registered

Agent CSC of Cobb Countv at 192 Anderson Street SE, Suite 125 Marietta, GA 30060 with a
Summons, Complaint for Darnages, Plaintiff"s First Request for Production of Docurnents to all

Defendants and Plaintist First Interrogatories to all Defendants by handing the same to

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l€\"¢"\ Tl'\O¢/t\ D §01/) on the )(-{' day of September, 2015, at 15 c/g/,'o"olo'”el<11\[1..m

(Signature on the following page)

This iii day of September, 2015.

 

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` Case 1:15-CV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 47 of 83

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Case 1:15-CV-03600-SC.] Document 1-1 Filed 10/09/15 Page 48 of 83

JBB
IN THE STATE COURT OF COBB COUNTYC;:'\'§“E
STATE OF GEORGIA

NELLIE SMITH, lndividualiy and as the
Temporary and Anticipated Administrator
of the Estate of ANNICE BRANNON,
Deceased,

Plaintiff,

 

V.

LIVINGCENTER-ROME; GGNSC
HOLDINGS, LLC; GOLDEN GATE
NATIONAL SENIOR CARE, LLC; GGNSC
ADMINISTRATIVE SERVICES, LLC;
GOLDEN GATE ANCILLARY, LLC; GGNSC
CLINICAL SERVICES, LLC; and
JOHN/JANE DOES I and H,

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GGNSC ROME, LLC d/b/a GOLDEN )
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Defendants )
AFFIDAVI'I` OF SERVICE OF PROCESS

COMES NOW JEANIB MOORE, before the undersigned officer duly authorized to
administer oaths, and being sworn on oath, deposes and states that she is not related to any party,
has no interest in the above styled case, is not a convicted felon, is a resident of Georgia and is a

native born citizen of the United States of Arnerica, and says:

I.
That l served GOLDEN GATE ANCILLARY, LLC upon their Registered Agent CSC of

Cobb Countv at 192 Anderson Street SE, Suite 125, Marietta, GA 30060 With a Sumrnons,
Complaint for Darnages, Plaintiff’s First Request for Produetion of Docnments to ali Defendants

and Plaintiff’S Pirst lnterrogatories to ali Defendants by handing the same to

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"Y/€v(‘\ Uow\(s)§m/] on the l 4 day ofSepternber, 2015, at ]',§fg/ o’cloek £…m

(Signature on thefo!lowing page)

This [C{ day of September, 2015.

 

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Case 1:15-cV-03600-SC.] Document 1-1 Filed 10/09/15 Page 50 of 83

IN THE s’rA'rE COURT oF CosB coiler ~
STATE OF GEORGIA ZHIS SEP 28 itt lt= 20

NELLIE SMITH, Individnally and as the
Temporary and Anticipated Administrator
of the Estate of ANNICE BRANNON,
Deceased,`

Plaintiff,

 

`V.

LIVH\IGCENTER-ROME; GGNSC
HOLDINGS, LLC; GOLDEN GATE
NATIONAL SENIOR CARE, LLC; GGNSC
ADM]NISTRATIVE SERVICES, LLC;
GOLDEN GATE ANCILLARY, LLC; GGNSC
CLINICAL SERVICES, LLC; and
JGHN/JANE DOES l and II,

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GGNSC ROME, LLC d/b/a GOLDEN )
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Defendants )
AFFIDAVIT OF SERVICE OF PROCESS

COMES NOW JEANIE MOORE, before the undersigned officer duly authorized to
administer oaths, and being sworn on oath, deposes and states that she is not related to any party,
has no interest in the above styled case, is not a convicted felon, is a resident of Georgia and is a

native born citizen of the United States of Arnerica, and says:

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That I served GGNSC CLINICAL SERVICES, LLC upon their Registered Agent CSC of

Cobb Countv at 192 Anderson Street SE. Suite 125, Marietta, GA 30060 With a Surnmons,
Complaint for Darnages, Plaintiff s First Request for Production of Docurnents to all Defendants

and Plaintiff’s _First Interrogatories to all Defendants by handing the same to

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’(\.€~("r‘t \ \/\OW\PSC/)on the l§é day ofSepternber, 20l5, at [/§f§ o’clocl< "l?~..ni

(Sz‘gnazure on the following page)

This iii day of September, 2015.

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 51 of 83

Gi,a/NM,/l/trr/‘t

Jeanée Moore,
Process Server

Sworn to and subscribed before me this

day`of_§t: ij ,2015‘ ""\“;;\Em”,
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CaSe 1:15-cV-03600-SC.] Document 1-1 Filed 10/09/15 Page 52 of 83

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NELLIE SMITH, lndividually and as the SE'ME 93 5 TCLER§{-lB

Temporary and Anticipated Adrninistrator
of the Estate of ANNICE BRANNON,
Deceased,

Plaintiffj CI`VIL ACTlON FILE
NO, lS-A-2254-6
v.

GGNSC ROME, LLC d/b/a GOLDEN

LIVING CENTER - ROME; GGNSC
HOLDINGS, LLC; GOLDEN GATE
NATIONAL SENIOR CARE, LLC; GGNSC
ADMYNISTRATIVE SERVICES, LLC;
GOLDEN GATE ANCILLARY, LLC; GGNSC
CLINICAL SERVICES, LLC; and
JOHN/JANE DOES l and II,

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Defendants
DEFENDANTS’ NOTICE OF REMOVAL

PLEASE TAKE NOTICE that a Petition for Removal of the above-styled action from the
State Court of Cobb County, State of Georgia, to the United States District Court for the
Northern District of Georgia, Rorne Division has been filed this same day. (A true and correct
copy of said Petition for Removal is attached hereto as EXhibit “A”).

You are also advised that Defendants have filed a copy of said Petition for Rernoval With
the Clerk of this Court and removed this case from the jurisdiction of the State Court of Cobb
County in accordance With the provisions of 28 U.S.C. § l441, et seq.

By virtue of the controlling federal laW, the aforesaid case is now removed, and all

further proceedings before this Court are stayed

* 5‘ 55 Signatnres Corrnnence on Following Page* 55 55

CaSe 1:15-CV-03600-SC.] Document 1-1 Filed 10/09/15 Page 53 of 83

This ch day Of` Octob€r, 201 5.

HAWKINS PARNELL
ON & 70UNG LLP

 
    
   

DavidQ./Y:§:Y)
\Clam_giaB' 1 . 471512
Christian J. Lang
Georgia Bar No. 435437
Kyle L. Parker

Georgia Bar NO. 556136

Counselfor Defendants
303 Peachtree Street, N.E.
Suite 4000
Atlanta, GA 30308
Teiephone: (404) 614-7400
Facsimile: (404) 614-7500

CaSe 1:15-CV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 54 of 83

EXHIBIT A

CaSe 1:15-CV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 55 of 83

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ROME DIVISION

NELLIE SMITH, Individually and as the
Temporary and Anticipated Administrator
of the Estate of ANNICE BRANNON,
Deceased,

Plaintiff CIVIL ACTION FILE
NO.

 

V.

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GGNSC ROME, LLC d/b/a GOLDEN )
LIVING CENTER - ROME; GGNSC )
HOLDINGS, LLC;_GGLDEN GATE )
NATIONAL SENI()R CARE, LLC; )
GGNSC ADMINISTRATIVE SERVICES, )
LLC; GOLDEN GATE ANCILLARY, )
LLC, GGNSC CLINICAL SERVICES, )
LLC; and JOHN/JANE DOES l and H, )
)

)

Defendant

PETITION F()R REMOVAL

 

COMES NOW GGNSC Rome, LLC, d/b/a Golden Living Center Rome,
GGNSE Holdings, LLC, Golden Gate National Senior Care, LLC, GGNSC
Administrative Services, LLC, Golden Gate Ancillary, LLC and GGNSC Clinical
Services, LLC (hereinafter “Defendants”) and hereby files this Petition for Removal,
pursuant to the provisions Of 28 U,S.C. §§ 1332, M¢H, and 1446 §§ §§g., and ShOWS

éhis Court the fOH<)Wing:

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 56 of 83

l.

The present action Was commenced by the Plaintiff in the State Court of Cobb
County. The suit is identified as Nellie Smith, lndividually and as the Temporary and
Anticipated Administrator of the Estate of Annice Brannon, Deceased v. GGNSC
Rome, LLC d/b/a Golden Living Center ~ Rome, GGNSC Holdings, LLC, Golden

Gate National Senior Care, LLC, GGNSC Administrative Services, LLC, Golden Gate

 

Ancillary, LLC; GGNSC Clinical Services, LLC and John/Iane Does l and II, State
Court of Cobb County, Civil Action File No. lS-A~2254-6.
2.

The Complaint Was the initial pleading setting forth the claim for relief upon
Which this action is based (A true and correct copy of the Plaintiff‘s Sumrnons,
Complaint, Sheriff’s Entry of Service, Defendants’ Notice of Removal and
Defendants’ Answers are attached hereto as Exhibit “A”). The earliest knowledge and

first notice by Defendant, or its agents, of Plaintiff”s Complaint Was September l5,

2015.

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 57 of 83

3.

The filing of this Petition for Removal is timely in that it has been filed Within
thirty (30) days of the date of the Defendants first receiving notice of Plaintiff’s
Complaint

4.

This action is of a civil nature. The substance of Plaintiff’s Complaint is that
Golden Living Center Rome, a long term care facility in Which Annice Brannon Was a
resident, deviated from the standard of care in that Golden Living Center Rome’s
nursing staff failed to provide adequate medical care Which allowed various medical
conditions to Worsen and ultimately resulting in the death of Annice Brannon.

5 .
Plaintiff is seeking damages for past medical expenses, past pain and suffering
and bodily injury and Wrongful death.
6.
Upon information and belief, Plaintiff is a citizen of the State of Georgia
7.
Defendant GGNSC Rome, LLC, d/b/a Golden Living Center Rorne is a

Delaware limited liability company GGNSC Rorne, LLC’s sole member is GGNSC

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 58 of 83

Equity Holdings, LLC, a Delaware limited liability company GGNSC Equity
Holdings, LLC’s sole member is Defendant Golden Gate National Senior Care, LLC, a
Delaware limited liability company Whose sole member is Defendant GGNSC
Holdings, LLC. Defendant GGNSC Holdings, LLC is a Delaware limited liability
company Whose sole member is Drumm Corp. Drumm Corp is a Delaware corporation
With its principal place of business in California. Therefore, for purposes of diversity
jurisdiction, GGNSC Rome, LLC is a citizen of Delaware and California.
8.

Defendant GGNSC Holdings, LLC is a Delaware limited liability company
Whose sole member is Drumrn Corp. Drumm Corp is a Delaware corporation With its
principal place of business in California. Therefore, for purposes of diversity
jurisdiction, GGNSC Holdings, LLC is a citizen of Delaware and California.

9.

Defendant Golden Gate National Senior Care, LLC, is a Delaware limited
liability company Whose sole member is Defendant GGNSC Holdings, LLC.
Defendant GGNSC Holdings, LLC is a Delaware limited liability company Whose sole
member is Drumm Corp. Drurnm Corp is a Delaware corporation With its principal

place of business in California., Therefore, for purposes of diversity jnrisdiction,

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 59 of 83

Defendant Golden Gate National Senior Care, LLC is a citizen of Delaware and
California.
l0.

Defendant GGNSC Administrative Services, LLC is a Delaware limited liability
company Whose sole member is Defendant GGNSC Holdings, LLC. Defendant
GGNSC Holdings, LLC is a Delaware limited liability company Whose sole member is
Drumm Corp. Drumm Corp is a Delaware corporation With its principal place of
business in California. Therefore, for purposes of diversity jurisdiction, Defendant
GGNSC Administrative Services, LLC is a citizen of Delaware‘and California.

ll.

Defendant Golden Gate Ancillary, LLC is a Delaware limited liability company
Whose sole member is Defendant GGNSC Holdings, LLC. Defendant GGNSC
Holdings, LLC is a Delaware limited liability company Whose sole member is Drumm
Corp. Drumm Corp is a Delaware corporation With its principal place of business in
California. Therefore, for purposes of diversity jurisdiction, Defendant Golden Gate

Ancillary, LLC is a citizen of Delaware and California.

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 60 of 83

l2.

Defendant GGNSC Clinical Services, LLC is a Delaware limited liability
company whose sole member is Defendant Golden Gate National Senior Care, LLC, a
Delaware limited liability company. Defendant Golden Gate National Senior Care,
LLC’s sole member is Defendant GGNSC Holdings, LLC. Defendant GGNSC
Holdings, LLC is a Delaware limited liability company whose sole member is Drumm
Corp. Drumm Corp is a Delaware corporation with its principal place of business in
California. Therefore, for purposes of diversity jurisdiction, GGNSC Clinical
Services, LLC is a citizen of Delaware and California.

l 3.

There exists complete diversity among the parties who are presently before the

Court.
l4.

This Court has jurisdiction under 28 U.S.C. § l332 and, therefore, this action is
one which may be removed to this Court by the Petitioners/Defendants, pursuant to the
provisions of 28 U.S.C. §§ l44l and l44l(b), in that it is a civil action in which the
amount in controversy exceeds the sum or value of $'75,000, exclusive of interest and

costs, and is an action between citizens of different states

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 61 of 83

WHEREFORE, Petitioners, GGNSC Rome, LLC, d/b/a Golden Living Center
Rome, GGNSE Holdings, LLC, Golden Gate National Senior Care, LLC, GGNSC
Administrative Services, LLC, Golden Gate Ancillary, LLC and GGNSC Clinical
Services, LLC, the named Defendants in the action described hereinabove which is
currently pending in the State Court of Cobb County, State of Georgia, Civil Action

File No. lS-A-2254-6, pray that this action be removed therefrom to this Court.

Respectfully submitted this 9th day of October, 20l5.

HAwKrNs PARNELL
THACKsToN & YoUNG LLP

/s/ Christian J. Lang
David C. Marshall

Georgia Bar No. 47l512
Christian J. Lang
Georgia Bar No. 435437
Kyle L. Parl<er

Georgia Bar No. 556l36

Counselfor Defendants
303 Peachtree Street, N.E.
Suite 4000
Atlanta, GA 30308-3243
Telephone: (404) 6l4~7400
Facsimile: (404) 6l4-7500
E»mail: dmarshall@hptylaw=com
E“mail: clang@hptylaw.com
E-mail : kparl<er@hptylaw.com

Case 1:15-cV-O36OO-SC.] Document 1-1 Filed 10/09/15 Page 62 of 83

lN THE UNlTED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
RGME DlVlSION

NELLIE SMITH, Individually and as the
Temporary and Anticipated Administrator
of the Estate of ANNICE BRANNON,
Deceased,
Plaintiff, CIVIL ACTIGN FILE
NO.

 

V.

GGNSC ROME, LLC d/b/a GOLDEN
LIVING CENTER - ROME; GGNSC
HOLDINGS, LLC; GOLDEN GATE
NATIONAL SENIOR CARE, LLC;
GGNSC ADMINISTRATl\/'E SERVICES,
LLC; GOLDEN GATE ANCILLARY,
LLC, GGNSC CLINICAL SERVICES,
LLC; and JOHN/JANE DOES I and ll,

Defendant

\/\`/\_/\_/\/\_/\¢/\./\/\/\_/\/\./\/\/\/\/\/\_/

CERTIFICATE OF SERVICE
l hereby certify that l have this day served a true and correct copy of the
within and foregoing PETITION FOR REM()VAL with the Clerk of Court using
the CM/ECF system which will automatically send email notification of such filing
to all attorneys of recordz listed below, who are registered participants in the

Court’s electronic notice and filing system and each of whom may access said

Case 1:15-cV-O36OO-SC.] Document 1-1 Filed 10/09/15 Page 63 of 83

filing via the Court’s CM/ECF System and by depositing same in the United States
with sufficient postage affixed thereon and addressed as follows:

W. Todd Harvey
Burke Harvey, LLC
3535 Grandview Parkway
Suite 100
Birmingham, Alabama 35243

Michael A. Prieto, Esq.
William F. Holbert, Esq.
Slover, Prieto, Marigliano & Holbert, LLC
Two Ravina Drive, Suite l330
Atlanta, Georgia 30346

This am day er octob@r, 2015.

HAWKINS PARNELL
THACKsToN & YoUNG LLP

/S/Christz`an J. Lung
Christian J. Lang

Counselfor Defendants
303 Peachtree Street, N.E.

Suite 4000

Atlanta, GA 30308-3243
Telephone: (404) 6l4-7400
Facsimile: (404) 6l4-7500
E-mail: clang@hptvlaw.com

Case 1:15-cV-O36OO-SC.] Document 1-1 Filed 10/09/15 Page 64 of 83

lN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GECRGIA
ROME DIVISIGN

NELLIE SMITH, Individually and as the
Temporary and Anticipated Administrator
of the Estate of ANNICE BRANNON,
Deceased,

Plaintiff, CIVIL ACTION FILE
NO.

 

V.

LIVING CENTER - ROME; GGNSC
HOLDINGS, LLC; GOLDEN GATE
NATIONAL SENIOR CARE, LLC;
GGNSC ADMINISTRATIVE SERVICES,
LLC; GOLDEN GATE ANCILLARY,
LLC, GGNSC CLINICAL SERVICES,
LLC; and JOHN/JANE DOES l and Il,

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GGNSC ROME, LLC d/b/a GOLDEN )
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Defendant )
LR 7.1(D), NDGa. CERTIFICATE
l, Christian J. Lang, hereby certify that the foregoing PETITI()N FOR
REMOVAL has been prepared with one of the font and point selections approved by

the Court in LR 5.l, NDGa.

***Signature Appears on Following Page***

l0

Case 1:15-cV-O36OO-SC.] Document 1-1 Filed 10/09/15 Page 65 of 83

rhis, the 9th day Or october, 20i5.

HAwKiNs PARNELL
THACKsToN & YoUNG LLP

/s/ Christian J. Lang
Christian J. Lang

Counselfor Defendants
303 Peachtree Street, N.E.
Suite 4000
Atlanta, GA 30308-3243
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E-mail: clang@hptylaw.com

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Case 1:15-cV-O36OO-SC.] Document 1-1 Filed 10/09/15 Page 66 of 83

lN THE STATE COURT OF COBB COUNTY
STATE OF GEORGIA

NELLIE SMlTH, lndividually and as the
Temporary and Anticipated Administrator
of the Estate of ANNICE BRANNON,

Deceased,
Plaintiff,

V.

ClVlL ACTlON FlLE
NO. l5-A2254-6

LIVlNG CENTER - R()ME; GGNSC
HOLDTNGS, LLC; GOLDEN GATE
NATIONAL SENIOR CARE, LLC; GGNSC
ADMINISTRATIVE SERVICES, LLC;
GOLDEN GATE ANCILLARY, LLC; GGNSC
CLINICAL SERVICES, LLC; and
JOHN/JANE DOES l and II,

Defendants

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GGNSC RoME, LLC d/b/a GOLDEN )
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CERTIFICATE ()F SERVICE

l hereby certify that l have this day served a true and correct copy of the within and

foregoing DEFENDANTS’ N()TICE GF REM()VAL to the PlaintiffJ s counsel by United

States Mail and addressed as follows:

W. Todd Harvey
Burl<e Harvey, LLC
3535 Grandview Parkway
Suite 100
Birmingham, Alabama 35243

Michael A. Prieto, Esq.
William F. Holbert, Esq.
Slover, Prieto, Marigliano & Holbert, LLC
Two Ravina Drive, Suite l330
Atlanta, Georgia 30346

f*’l‘Signatnres Commence on Following ?age‘l‘ f t

Case 1:15-cV-O36OO-SC.] Document 1-1 Filed 10/09/15 Page 67 of 83

This 9lh day of October, 20l5.

 

 

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Case 1:15-cV-O36OO-SC.] Document 1-1 Filed 10/09/15 Page 68 of 83

lN THE STATE COURT OF COBB COUNTY
STATE OF GEORGlA

NELLiE Sl\/ll'fl-l, individually and as the
Temporary and Anticipated Adrninistrator
of the Estate of ANNICE BRANNON,
Deceased,
Plaintiff, CIVIL ACTI()N FILE
NO. lS-A»2254-6
v.

GGNSC ROME, LLC d/b/a GOLDEN
LlVING CENTER - ROME; GGNSC
HOLDINGS, LLC; GOLDEN GATE
NATIONAL SENIOR CARE, LLC; GGNSC

\/\J\/\_/\/\/\/\/\/\/\/\/\/\_/\./\./\,/\./\,/

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ADMiNisrRArivE sERvicEs, LLc; § 5 ja
GOLDEN GATE ANCILLARY, LLC; GGNSC mg g §
cLiNiCAL sERvICEs, LLC; and §§ f 121
JoHN/JANE DoEs 1 and Ii, >3*: m §
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Defendants §§ z §§
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DEFENDANTS’ AMENDE_D NorICE oF rumova g 51 ‘

PLEASE TAKE NOTICE Defendants hereby file an Amended Notice of Removal to
properly reflect that the Petition for Removal of the above-styled action from the State Court of
Cobb County, State of Georgia, was filed this same day in the United States District Court for
the Noithern District of Georgia, Atlanta Division ~ as opposed to the Rome Division. (A true
and correct copy of said Petition for Removal is attached hereto as Exhibit “A”).

You are also advised that Defendants have filed a copy of said Petition forRemoval with
the Clerk of this Court and removed this case from the jurisdiction of the State Court of Cobb
County in accordance with the provisions of 28 U.S.C. § l44l , et seq.

By virtue of the controlling federal law, the aforesaid case is now removed, and all
further proceedings before this Court are stayed

***Signatures Commence on Following Page***

Case 1:15-cV-03600-SC.] Document 1-1 Filed 10/09/15 Page 69 of 83

This 9‘“ day er o@i@b@r, 2015.

303 Peachtree Street, N.E.
Suite 4000

Atlanta, GA 30308
Telephone: (404) 614~7400
Facsimile: (404) 614~7500

HAWKINS PARNELL
oN oUNG LLP

 

Wgn hair
Georgia ar o. 47 512
Christian J. La

Georgia Bar No. 435437

Kyle L. Parker
Georgia.Bar No. 556136

Counselfor Defendants

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 70 of 83

 

`EXHIBIT A

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Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 71 of 83

lN THE UNITED STATES DISTRICT CGURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

NELLIE SMITH, Individually and as the
Temporary and Anticipated Adrninistrator
of the Estate of ANNICE BRANN()N,
Deceased,

CIVIL ACTION FILE
NO.

Plaintiff,

 

V.

LIVING CENTER - ROME; GGNSC
HOLDINGS, LLC; GOLDEN GATE
NATIC)NAL SENIOR CARE, LLC;
GGNSC ADMINISTRATIVE SERVICES
LLC; GOLDEN GATE ANCILLARY,
LLC, GGNSC CLINICAL SERVICES,
LLC; and JOHN/JANE DOES I and II,

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GGNSC RoME, LLC d/b/a GoLDEN )
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Defendants
PETITI()N FOR REM()VAL
COMES NOW GGNSC Rorne, LLC, d/b/a Golden Living Center Rorne,
GGNSC Holdings, LLC, Golden Gate National Senior Care, LLC, GGNSC
Adrninistrative Services, LLC, Golden Gate Ancillary, LLC and GGNSC Clinical
Services, LLC (hereinafter “Defendants”) and hereby files this Petition for Removal,
pursuant to the provisions of 28 U.S.C. §§ 1332, 1441, and l446 e_t _s_eg., and shows

this Court the following

Case 1:15-cV-03600-SC.] Document 1-1 Filed 10/09/15 Page 72 of 83

i.
The present action was commenced by the Plaintiff in the State Court of Cobb

County. The suit is identified as Nellie Smith, Individually and as the Temporary and

 

Anticipated Adrninistrator of the Estate of Annice Brannon., Deceased v. GGNSC
Rorne, LLC d/b/a Golden Living Center ~ Rorne, GGNSC Holdings, LLC, Golden
Gate National Senior Care, LLC, GGNSC Administrative Services, LLC, Golden Gate
Ancillary, LLC; GGNSC Clinical Services, LLC and John/Jane Does I and Il, State
Court of Cobb County, Civil Action File No. lS-A-2254-6.

2.

The Complaint was the initial pleading setting forth the claim for relief upon
which this action is based. (A true and correct copy of the Plaintifi‘s Sumrnons,
Complaint, Sherist Entry of Service, Defendants’ Notice of Rernoval, Defendants’
Arnended Notice of Rernoval and Defendants’ Answers are attached hereto as Exhibit
“A”). The earliest knowledge and first notice by Defendant, or its agents, of Plaintiff s

Complaint was September l5, ZOlS.

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 73 of 83

3.

The filing of this Petition for Removal is timely in that it has been filed within
thirty (30) days of the date of the Defendants first receiving notice of Plaintiff’ s
Complaint

4.

This action is of a civil nature. The substance of Plaintiff’s Complaint is that
Golden Living Center Rome, a long term care facility in which Annice Brannon was a
resident, deviated from the standard of care in that Golden Living Center Rome’s
nursing staff failed to provide adequate medical care which allowed various medical
conditions to worsen and ultimately resulting in the death of Annice Brannon.

5.
Plaintiff is seeking damages for past medical expenses, past pain and suffering
and bodily injury and wrongful death.
6.
Upon information and belief, Plaintiff is a citizen of the State of Georgia.
7.
Defendant GGNSC Rome, LLC, d/b/a Golden Living Center Rome is a

Delaware limited liability company. GGNSC Rorne, LLC’s sole member is GGNSC

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 74 of 83

Equity Holdings, LLC, a Delaware limited liability company GGNSC Equity
Holdings, LLC’s sole member is Defendant Golden Gate National Senior Care, LLC, a
Delaware limited liability company whose sole member is Defendant GGNSC
Holdings, LLC. Defendant GGNSC Holdings, LLC is a Delaware limited liability
company whose sole member is Drumm Corp. Drumm Corp is a Delaware corporation
with its principal place of business in California. Therefore, for purposes of diversity
jurisdiction, GGNSC Rome, LLC is a citizen of Delaware and California.
8.

Defendant GGNSC Holdings, LLC is a Delaware limited liability company
whose sole member is Drumm Corp. Drumrn Corp is a Delaware corporation with its
principal place of business in California. Therefore, for purposes of diversity
jurisdiction, GGNSC Holdings, LLC is a citizen of Delaware and California.

9.

Defendant Golden Gate National Senior Care, LLC, is a Delaware limited
liability company whose sole member is Defendant GGNSC Holdings, LLC.
Defendant GGNSC Holdings, LLC is a Delaware limited liability company whose sole
member is Drumrn Corp. Drumm Corp is a Delaware corporation with its principal

place of business in California. Therefore, for purposes of diversity jurisdiction,

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 75 of 83

Defendant Golden Gate National Senior Care, LLC is a citizen of Delaware and
California.
lO.

Defendant GGNSC Administrative Services, LLC is a Delaware limited liability
company whose sole member is Defendant GGNSC Holdings, LLC. Defendant
GGNSC Holdings, LLC is a Delaware limited liability company whose sole member is
Drumm Corp. Drumm Corp is a Delaware corporation with its principal place of
business in California. Therefore, for purposes of diversity jurisdiction, Defendant
GGNSC Administrative Services, LLC is a citizen of Delaware and California.

ll.

Defendant Golden Gate Ancillary, LLC is a Delaware limited liability company
whose sole member is Defendant GGNSC Holdings, LLC. Defendant GGNSC
Holdings, LLC is a Delaware limited liability company whose sole member is Drumm
Corp. Drumm Corp is a Delaware corporation with its principal place of business in
California. Therefore, for purposes of diversity jurisdiction, Defendant Golden Gate

Ancillary, LLC is a citizen of Delaware and California.

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 76 of 83

l2.

Defendant GGNSC Clinical Services, LLC is a Delaware limited liability
company whose sole member is Defendant Golden Gate National Senior Care, LLC, a
Delaware limited liability company. Defendant Golden Gate National Senior Care,
LLC’s sole member is Defendant GGNSC Holdings, LLC. Defendant GGNSC
Holdings, LLC is a Delaware limited liability company whose sole member is Drumm
Corp. Drumm Corp is a Delaware corporation with its principal place of business in
California. Therefore, for purposes of diversity jurisdiction, GGNSC Clinical
Services, LLC is a citizen of Delaware and California.

l3.

There exists complete diversity among the parties who are presently before the
Court.

14.

This Court has jurisdiction under 28 U.S.C. § 1332 and, therefore, this action is
one which may be removed to this Court by the Petitioners/Defendants, pursuant to the
provisions of 28 U.S.C. §§ 1441 and l44l(b), in that it is a civil action in which the
amount in controversy exceeds the sum or value of 375,000, exclusive of interest and

costs, and is an action between citizens of different states.

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 77 of 83

WHEREFORE, Petitioners, GGNSC Rome, LLC, d/b/a Golden Living Center
Rome, GGNSC Holdings, LLC, Golden Gate National Senior Care, LLC, GGNSC
Administrative Services, LLC, Golden Gate Ancillary, LLC and GGNSC Clinical
Services, LLC, the named Defendants in the action described hereinabove which is
currently pending in the State Court of Cobb County, State of Georgia, Civil Action

File No. lS-A-2254-6, pray that this action be removed therefrom to this Court.

Respectfully submitted this 9th day of October, 20l5.

HAWKiNs PARNELL
THACKSTON & YoUNG LLP

/s/ Christian J. Lang
David C. Marshall

Georgia Bar No. 471512
Christian J. Lang
Georgia Bar No. 435437
Kyle L. Parker

Georgia Bar No. 556136

Counselfor Defendants
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E~mail: clang@hptylaw.com
E-mail : kparker@hptylaw.com

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 78 of 83

lN THE WITED STATES DISTRICT COURT
FOR THE NGRTHERN DlSTRlCT CF GEGRGIA
ATLANTA DlVlSlON

NELLIE SMITH, Individually and as the
Temporary and Anticipated Administrator
of the Estate of ANNICE BRANNON,
Deceased,

Plaintiff, CIVIL ACTION FlLE
NG.

 

V.

LIVING CENTER - ROME; GGNSC
HOLDINGS, LLC; GOLDEN GATE
NATIONAL SENIOR CARE, LLC;
GGNSC ADMINISTRATIVE SERVICES
LLC; GOLDEN GATE ANClLLARY,
LLC, GGNSC CLlNlCAL SERVICES,
LLC; and JOHN/JANE DOES l and ll,

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GGNSC RoME, LLC ang/a GoLDEN )
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Defendant.
CERTIFICATE ()F SERVICE
l hereby certify that l have this day served a true and correct copy of the
within and foregoing PETITION FOR REMOVAL with the Clerk of Court using
the CM/ECF system which will automatically send email notification of such filing
to all attorneys of record, listed below, who are registered participants in the

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Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 79 of 83

filing via the Court’s CM/ECF System and by depositing same in the United States
with sufficient postage affixed thereon and addressed as follows:

W. Todd Harvey
Burke Harvey, LLC
3535 Grandview Parkway
Suite 100
Birmingham, Alabama 35243

Michael A. Prieto, Esq.
William F. Holbert, Esq.
Slover, Prieto, Marigliano & Holbert, LLC
Two Ravina Drive, Suite 1330
Atlanta, Georgia 30346

This 9“‘ day of October, 2015 .

HAwKiNs PARNELL
THACKSTON & YoUNG LLP

/s/Christz`an J. Lung
Christian J. Lang

Counselfor Defendants
303 Peachtree Street, N.E.
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Atlanta, GA 30308-3243
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Facsimile: (404) 614-7500

E-mail: clang@hptylaw.com

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 80 of 83

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lN THE UNITED STATES DlSTRlCT COURT,MQ.…v ¢"_ SAVES

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ATLANTA DivisioN

NELLIE SMITH, lndividually and as the
Temporary and Anticipated Administrator
of the Estate of ANNICE BRANNON,
Deceased,

Plaintiff, ClVlL ACTION FILE
NO.

 

V.

LIVING CENTER - ROME; GGNSC
HOLDINGS, LLC; GOLDEN GATE
NATIONAL SENI()R CARE, LLC;
GGNSC ADMINISTRATIVE SERVICES
LLC; GOLDEN GATE ANCILLARY,
LLC, GGNSC CLlNlCAL SERVICES,
LLC; and JOHN/JANE DOES 1 and ll,

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GGNSC ROME, LLC d/b/a GOLDEN )
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Defendant. )

LR 7.1(])), NDGa. CERTIFICATE
l, Christian J. Lang, hereby certify that the foregoing PETITION FOR

REMOVAL has been prepared with one of the font and point selections approved by

the Court in LR 5.1, NDGa.

***Signature Appears on Following Page***

10

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 81 of 83

rhiS, tire 9th day ar october, 20i5.

HAWKINS PARNELL
THACKsToN & YoUNG LLP

/S/ Christian J. Lang
Christian J. Lang

Counselfor Defendants
303 Peachtree Street, N.E.
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E-mail: clang@hptylaw.com

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Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 82 of 83

lN THE STATE CGURT OF COBB COUNTY
STATE OF GEORGIA

NELLlE Sl\/llTH, lndividually and as the
Temporary and Anticipated Administrator
of the Estate of ANNICE BRANNON,
Deceased,

Plaintiff, ClVlL ACTION FILE

NO. 15-A2254-6
v.

GGNSC ROME, LLC d/b/a GOLDEN

LIVING CENTER - ROl\/IE; GGNSC
HOLDINGS, LLC; GOLDEN GATE
NATIONAL SENIOR CARE, LLC; GGNSC
ADMINISTRATIVE SERVICES, LLC;
GGLDEN GATE ANCILLARY, LLC; GGNSC
CLlNICAL SERVICES, LLC; and
JOHN/JANE DOES l and 11,

\/\./\/\/V\/\/\/\./\/\/\/\J\/\/\/\,/\`./\./

Defendants

CERTIFICATE ()F SERVICE
l hereby certify that l have this day served a true and correct copy of the within and
foregoing DEFENDANTS’ AMENDED NGTICE ()F REM()VAL to the Plaintiff s counsel

by United States Mail and addressed as follows:

W. Todd Harvey
Burke Harvey, LLC
3535 Grandview Parkway
Suite 100
Birmingham, Alabama 35243

Michael A. Prieto, Esq.
William F. Holbert, Esq.
Slover, Prieto, Marigliano & Holbert, LLC
Two Ravina Drive, Suite 1330
Atlanta, Georgia 30346

* * * Signatures Commence on Following Page* * *

Case 1:15-cV-O3600-SC.] Document 1-1 Filed 10/09/15 Page 83 of 83

ring 9"‘ day ar october 20i5.

    

 

David C.

arshall
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Kyle L. Par er

     

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